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CLAIM NUMBER:

EMPLOYMENT WAGE COMPLAINT IMPORTANT: By filing this claim with the Wage and Hour

Division, you are electing a remedy which may prevent you
from pursuing this claim elsewhere, Including civil court.

Michigan Department of Licensing and Regulatory Affairs

Michigan Occupational Safety and Health Administration

LARA is an equa! opportunity employer/program. Auzxilliary aids,

Wage & Hour Division services and other reasonable accommodations are available,
Mailing Address: Street Address: upon requast, to individuals with disabilities for the purpose of

7 ‘ ‘ accessibility under the state and federallaw. Please cail
P.O. Box 30476 vows wa 904 517.322.1825 to make your needs known to this agency.
Lansing, MI 48909-7976 , AUTHORITY: ACT 390, PUBLIC ACTS OF 1978, AS AMENDED

Telephone: 517.322.1825 Facsimile: 517.322.6352
Website: www.michigan.gov/wagehour

COMPLETION: VOLUNTARY
PENALTY: = NONE

ACT 154, PUBLIC ACTS OF 1964, AS AMENDED

EMPLOYEE INFORMATION Please print

LAST NAME, FIRST NAME, MIDDLE INITIAL [x ]Mr.[7]Ms.[~ ]Mrs.[~] Miss.[_]Dr. | LAST 4 NUMBERS OF SOCIAL SECURITY
Reeser, Natalie K NUMBER:

ADDRESS (STREET NUMBER AND NAME): BIRTH DATE:

20481 Foster Drive 12/31/1986

CITY, STATE, ZIP: COUNTY:

Clinton Twp, Ml 48036 macomb

EMAIL ADDRESS: PRIMARY TELEPHONE NUMBER: | DAYTIME TELEPHONE NUMBER:
natalie_19_S99@yahco.com 586-843-6020 586-843-6020

CONTACT INFORMATION FOR SOMEONE WHO WILL ALWAYS KNOW HOW TO REACH YOU.

ADDRESS WHERE YOU WORKED (STREET NUMBER AND NAME): 15945 19 Mile Rd Suite 104

GIFY, STATE, ZIP: COUNTY:

Clinton Twp Mi 48038 Macomb

Start date of employment (Month/Day/Year): 05/16/2014 Last cate worked (Month/Day/Year):

Employment Status: How offen were you paid?

[_] quit [7] pischarcep [x] sTiLL EMPLoyeD L] weexty [x] s-weeK.y [~]semi-MonTHLy [7] MONTHLY
LIST YOUR RATE OF PAY: PER HOUR SALARY COMMISSION PIECE RATE/OTHER
PROVIDE A COPY OF YOUR GHECK STUB. $ 14.28 $ $ $

if salaried, how many days/hours were you required What was/ls your job title?

to work each week or pay period? Phlebotimist / Lab asistant

EMPLOYER INFORMATION

BUSINESS NAME: TYPE OF BUSINESS:

Henry Ford Medical Labortory 62 Health Care and Social Assistance

BUSINESS ADDRESS (STREET NUMBER AND NAME);

2799 West Grand Bivd

GITY, STATE, ZIP: COUNTY

Detroit, Ml 48202 wayne

TELEPHONE NUMBER: FAX NUMBER:

EMAIL OR WEBSITE ADDRESS OF EMPLOYER (IF KNOW}:
jhood1@hfths.org

NAME OF PERSON IN GHARGE OF DAY-TO-DAY OPERATIONS:
Jill Hood

LUST THE APPROXIMATE NUMBER OF EMPLOYEES:
23008

Was Your Employment Governed by One or More Employers? if so, list belaw the additional employer's name, address, city,
state, zip code, and telephone number or attach an addiitional sheet listing the information.

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THE CLAIM WILL 8E RETURNED IF A CLAIM AMOUNT AND A CLAIM PERIOD ARE NOT PROVIDED.
Filing this complaint does not guarantee payment or a finding in your favor.

Please provide documentation toe substantiate your elaim, for example, pay stubs, time sheets, written policies and ect.

Your Reason for Period Claimed Calculate Amount Claimed Amount
Fillng thls Claim Month/Day/Year © Month/Day/Year (Attach additional sheets if necessary) Claimed
from 5/16/2011 to around 5/16/2012
WAGES everyone was taking an hour!
Hourly Wages 5/16/2011 02/25/2014 unch, and was paid for a half hour of that, | 14,28
Salary it if never got a lunch and thay st
Commissions IT rT ill took out 1/2 everyday from my check , |
(Provide list of commissians) was working from 7:30 am to 6 p
Pisce Rate/Other i] if m with no breaks or lunches but they still
took it out of my pay check so f
Daguthorized if if or the first year 200 days at time and a half
for one hour that is 200 x 14
Prveite unite icy or contract ..28 + over time of 7.14 = 21.42 x 200 =
- 4,282 then from 5/17/2012 to 2/
Vacation Pay it ff 25/2014 they made lunches 30 minutes,
Paid Time Off if if across the board In my department, ex
: cept | never got one and they continue to
Holiday Pay uy i take 30 minutes out of my check 6
Sick Pay fi if veryday , even though | never get a break or
Expense Reimbursement lunch so for those extra 400 d
(Provide list of expenses) fd ii ays at time and a half .... 0.30 x 400 = 120 x
Bonus 21.42 is 2,570.40 far a to
(List type of bonus) if fi tal asking amount of 6,852.40
MINIMUM WAGE if if
OVERTIME ff if

TOTAL GROSS (before tax deductions) AMCUNT CLAIMED 6852.40

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Are you filing a complaint for pay stubs or wage statements you did not receive? YES NO

lf yes, please list dates you did not receive a pay stub or wage statement [x ] [|

| have been employed by Henry ford since 5/16/2014 | have
had a lunch maybe ten times in those almost three years,

PLEASE ANSWER THE FOLLOWING

YES NO
Have you filed a law suit against the employer on the issues of this claim? []
claiming fringe benefits, was a written policy or contract in effect during your employment? [ ] [x]
yes, please provide a copy of the written policy or contract.
Does the business make more than $500,000/fyear or transport goods outside of Michigan? L]
Was your employment covered by a union contract? If yes, please submit a copy of the contract. [|

CERTIFICATION! certify that to the bast of my knowledge and belief, this is a true statement of wages and/or fringe benefits due me. | wili
inform the department if any of the following occur: Change of name, address, and/or telephone number for myself and/or employer, or a direct
payment or settlement of the claim.

Signature of Complainant: DATE:

NO ADDITIONAL INFORMATION WILL BE SENT

ONLINE REFERENCE NUMBER: 586-843-6020 DATE: 02/27/2014

